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                       EXECUTIVE OFFICE OF THE PRESIDENT
                           OFFICE OF MANAGEMENT AND BUDGET
                                     WASHINGTON, D.C. 20503




In implementing President Trump’s Executive Orders, OMB issued guidance requesting that
agencies temporarily pause, to the extent permitted by law, grant, loan or federal financial
assistance programs that are implicated by the President’s Executive Orders.
Any program not implicated by the President’s Executive Orders is not subject to the
pause.
The Executive Orders listed in the guidance are:
       Protecting the American People Against Invasion

       Reevaluating and Realigning United States Foreign Aid
       Putting America First in International Environmental Agreements

       Unleashing American Energy

       Ending Radical and Wasteful Government DEI Programs and Preferencing

       Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
       the Federal Government
       Enforcing the Hyde Amendment
Any program that provides direct benefits to individuals is not subject to the pause.
The guidance establishes a process for agencies to work with OMB to determine quickly whether
any program is inconsistent with the President’s Executive Orders. A pause could be as short as
day. In fact, OMB has worked with agencies and has already approved many programs to
continue even before the pause has gone into effect.
Any payment required by law to be paid will be paid without interruption or delay.
Q: Is this a freeze on all Federal financial assistance?
A: No, the pause does not apply across-the-board. It is expressly limited to programs, projects,
and activities implicated by the President’s Executive Orders, such as ending DEI, the green new
deal, and funding nongovernmental organizations that undermine the national interest.
Q: Is this a freeze on benefits to Americans like SNAP or student loans?
A: No, any program that provides direct benefits to Americans is explicitly excluded from the
pause and exempted from this review process. In addition to Social Security and Medicare,
already explicitly excluded in the guidance, mandatory programs like Medicaid and SNAP will
continue without pause.
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Funds for small businesses, farmers, Pell grants, Head Start, rental assistance, and other similar
programs will not be paused. If agencies are concerned that these programs may implicate the
President’s Executive Orders, they should consult OMB to begin to unwind these objectionable
policies without a pause in the payments.
Q: Is the pause of federal financial assistance an impoundment?
A: No, it is not an impoundment under the Impoundment Control Act. It is a temporary pause
to give agencies time to ensure that financial assistance conforms to the policies set out in the
President’s Executive Orders, to the extent permitted by law.
Temporary pauses are a necessary part of program implementation that have been ordered by
past presidents to ensure that programs are being executed and funds spent in accordance with a
new President’s policies and do not constitute impoundments.
Q: Why was this pause necessary?
A: To act as faithful stewards of taxpayer money, new administrations must review federal
programs to ensure that they are being executed in accordance with the law and the new
President’s policies.
